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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :   CRIMINAL NO. 1:11-CR-166
                                           :
              v.                           :   (Judge Conner)
                                           :
DAMIEN HAMMONDS (1),                       :
                                           :
                    Defendant              :

                                       ORDER

      AND NOW, this 24th day of July, 2020, upon consideration of defendant

Damien Hammonds’ motion (Doc. 673) for compassionate release1 and reduction of

sentence under 18 U.S.C. § 3582(c)(1)(A)(i), and for the reasons set forth in the

accompanying memorandum, it is hereby ORDERED that Hammonds’ motion

(Doc. 673) is DENIED without prejudice.



                                        /S/ CHRISTOPHER C. CONNER
                                        Christopher C. Conner
                                        United States District Judge
                                        Middle District of Pennsylvania




      1
         Hammonds’ pro se filing did not explicitly request compassionate release;
rather, Hammonds asked the court to appoint counsel to determine whether he
may be eligible for compassionate release. (See Doc. 673). We construe the pro se
filing as a motion for compassionate release under 18 U.S.C. § 3582(c)(1)(A).
